Case 2:05-cr-20144-.]PI\/| Document 29 Filed 07/08/05 Page 1 of 2 "'Page|D 34

]N THE UNITED STATES DISTRICT COURT m ay -~~--L 5__.....: D.C`.
FOR THE WESTERN DISTRICT OF TENNESSEE
Western 05 JUI_ -8 FH ha 5 l
UNITED STATES OF AMERJCA, -' U_g_\§@gmegm
OF -EN “
PIaintiff, ' haw
vs. Case No. 2:050r20144-M1
Angelina Granata

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,500.00,

payable to Larry E. Fitzgerald at 100 N. Main Street, Ste 901, Memphis, TN 38103 in full refund of the

/Q¥\QMQQ.\

nite States District Judge
0 .McCalla

cash appearance bond posted herein.

 

Date: JQ,\H g`_zo¢§'
U .

Approved.
Thorn

 
  

   

     

Gould, lerk of Court _

BY:
Deputy

Tnis document entered on the docket sheet in compliance
with Hu|e 55 and/or 32(b) FHCrP on "' "

   

UNITED sTATE ISTRIC COURT - WE TERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listed.

 

 

L. Daniel Johnson

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David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable J on McCalla
US DISTRICT COURT

